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 6                           IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8                                              )        Case No. 2:13-cr-0160 MCE
     UNITED STATES OF AMERICA,                  )
 9                                              )        ORDER APPOINTING COUNSEL
                    Plaintiff,                  )
10                                              )
         vs.                                    )
11   ALEXANDER SAKHANSKIY,                      )
                                                )
12                  Defendant.                  )
                                                )
13
            The defendant has, under oath, sworn or affirmed as to his financial inability to employ
14
15   counsel.

16   OFFENSE: 18 USC § 844(h)(1)
17          CJA Panel attorney Mark J. Reichel is hereby appointed effective May 16, 2014, the date
18
     the Office of the Federal Defender first contacted him. Appointed counsel is ordered to retain
19
     the signed Financial Affidavit supporting appointment.
20
            IT IS SO ORDERED.
21
22   Dated: May 28, 2014
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